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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                             PLAINTIFF


v.                                                  CRIMINAL ACTION NO. 3:23CR-65-DJH


KELVIN L. ANDERSON                                                                   DEFENDANT

                                             ORDER

       This matter is before the Court on unopposed motion of the United States to continue the

trial of this matter set for August 21, 2023. The Court having considered the motion and being

otherwise particularly advised,

       IT IS ORDERED that the United States’ motion to continue trial is granted and is in the

interests of justice. This matter is remanded from the Court’s trial docket, and the matter is set

for a further proceeding in court on August 21, 2023, at _________. The time between this

Order and the further proceeding is excluded from the Speedy Trial computation pursuant to 18

U.S.C. §3161(h)(7)(A) and B(ii).
